                             Case 22-10559-JKS                       Doc 1        Filed 06/22/22             Page 1 of 26


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Gold Standard Baking, LLC


                                                 Gold Standard Baking, Inc.
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          3700 S. Kedzie Avenue
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box
                                          Chicago                         IL         60632
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Cook County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://goldstandardbaking.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                              Case 22-10559-JKS              Doc 1        Filed 06/22/22            Page 2 of 26
Debtor            Gold Standard Baking, LLC                                     Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          3118 Bakeries and Tortilla Manufacturing

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every
                                                              3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                              is a small business debtor, attach the most recent balance sheet, statement of operations,
                                                              cash-flow statement, and federal income tax return or if all of these documents do not
                                                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐    The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D), and it
                                                                chooses to proceed under Subchapter V of Chapter 11.
                                                            ☐ A plan is being filed with this petition.

                                                            ☐   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No       District
   filed by or against the debtor     ☐ Yes.                                       When     MM/DD/YYYY        Case number
   within the last 8 years?
                                                 District                          When                       Case number
     If more than 2 cases, attach a                                                         MM/DD/YYYY
     separate list.




     Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                             Case 22-10559-JKS                       Doc 1         Filed 06/22/22          Page 3 of 26
Debtor           Gold Standard Baking, LLC                                              Case number (if known)
          Name



10. Are any bankruptcy cases              ☐ No
    pending or being filed by a           ☒ Yes.                                                                       Relationship    Affiliate
                                                       Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                           District     Delaware
   List all cases. If more than 1,                                                                                     When            06/22/2022
   attach a separate list.                           Case number, if known _______________________                                     MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.
                                       ☒     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                   ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                         safety.
                                                         What is the hazard?

                                                   ☐     It needs to be physically secured or protected from the weather.

                                                   ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).
                                                   ☐     Other


                                                   Where is the property?
                                                                                          Number          Street



                                                                                          City                                 State      Zip Code



                                                   Is the property insured?
                                                   ☐ No

                                                   ☐ Yes.         Insurance agency

                                                                  Contact name
                                                                  Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐      1-49                          ☒       1,000-5,000                     ☐     25,001-50,000
    creditors (on a                   ☐      50-99                         ☐       5,001-10,000                    ☐     50,001-100,000
    consolidated basis)               ☐      100-199                       ☐       10,001-25,000                   ☐     More than 100,000
                                      ☐      200-999




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                                Case 22-10559-JKS                 Doc 1        Filed 06/22/22              Page 4 of 26
Debtor           Gold Standard Baking, LLC                                            Case number (if known)
          Name



15. Estimated assets (on a            ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☒     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on         ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    a consolidated basis)             ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☒    $100,000,001-$500 million              ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         06/22/2022
                                                               MM/ DD / YYYY


                                               /s/                                                                John T. Young, Jr.
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Chief Restructuring Officer




18. Signature of attorney                      /s/ Domenic E. Pacitti                                         Date        06/22/2022
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Domenic E. Pacitti
                                               Printed name
                                               Klehr Harrison Harvey Branzburg LLP
                                               Firm name
                                               919 North Market Street, Suite 1000
                                               Number                 Street
                                               Wilmington                                                             DE                19801-3062
                                               City                                                                   State               ZIP Code

                                               302-426-1189                                                           dpacitti@klehr.com
                                               Contact phone                                                              Email address
                                               3989                                                 DE
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                         ,
 United States Bankruptcy Court for the:
                              District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                             Chapter   11                                        amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Gold Standard Baking, LLC

        Gold Standard Baking, LLC
        Gold Standard Holdings, Inc.
        Gold Standard Real Estate, LLC
                   Case 22-10559-JKS           Doc 1      Filed 06/22/22       Page 6 of 26




                        IN THE UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    GOLD STANDARD BAKING, LLC,                           )     Case No. 22-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                              LIST OF EQUITY SECURITY HOLDERS1

             Debtor               Equity Holders             Address of Equity Holder            Percentage of
                                                                                                 Equity Held
    Gold Standard                  Gold Standard              3700 S. Kedzie Avenue
                                                                                                     100%
    Baking, LLC                    Holdings, Inc.             Chicago, Illinois 60632




1
       This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as
       of the date of commencement of the chapter 11 case.
               Case 22-10559-JKS        Doc 1    Filed 06/22/22    Page 7 of 26




                   IN THE UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE

                                                )
 In re:                                         )    Chapter 11
                                                )
 GOLD STANDARD BAKING, LLC,                     )    Case No. 22-___________(___)
                                                )
                       Debtor.                  )
                                                )

                          CORPORATE OWNERSHIP STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor’s equity interest:

                  Shareholder                       Approximate Percentage of Shares Held

     Gold Standard Holdings, Inc.                                       100%
                                     Case 22-10559-JKS                       Doc 1   Filed 06/22/22               Page 8 of 26

Debtor name Gold Standard Baking, LLC

UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                      12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                        Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                  claim is
mailing address, including zip              email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction for Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


1   Audax Group                             Audax Group                              Senior                                                                       $35,470,906.00
    320 Park Ave, 19th Fl                   Tel: 212-703-2700                        Subordinated
    New York, NY 10022                      Email: rvahabzadeh@audaxgroup.com        Notes




2   Parallel49 Equity (Fund V), LP          Parallel49 Equity (Fund V), LP           Second Lien Term                                                             $16,311,835.00
    225 E Deerpath Rd, Ste 200              Tel: 847-295-4243                        Loan
    Lake Forest, IL 60045                   Email: jdries@p49equity.com




3   Pratt Industries Inc                    Pratt Industries Inc                     Trade Payable                                                                   $713,913.82
    P.O. Box 933949                         Tel: 219-307-4466
    Atlanta, GA 31193-3949                  Email: tgast@prattindustries.com




4   Bunge North America                     Bunge North America                      Trade Payable                                                                   $686,883.12
    2612 Solution Center                    Tel: 214-764-8300
    Chicago, IL 60677                       Email: astrid.cojulun@bunge.com




5   ADM Milling Co                          ADM Milling Co                           Trade Payable                                                                   $578,530.76
    P.O. Box 92572                          Tel: 217-451-8107
    Chicago, IL 60675-2572                  Email: Tyler.Beals@adm.com




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 Page 1
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Debtor name Gold Standard Baking, LLC                                                                     Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                claim is
mailing address, including zip              email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction for Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


6   Metraco Transportation                  Metraco Transportation                 Trade Payable                                                                   $407,550.00
    211 Woodlawn Ave                        Tel: 419-660-4026
    Norwalk, OH 44857                       Email: Courtney.hipp@nhbco.com




7   Berkshire Refrigerated Warehousing      Berkshire Refrigerated Warehousing     Trade Payable                                                                   $403,762.50
    P.O. Box 09284                          Tel: 773-254-2424
    Chicago, IL 60609                       Email: lisar@brwllc.com




8   Panoramic, Inc                          Panoramic, Inc                         Trade Payable                                                                   $354,924.41
    1500 N Parker Dr                        Tel: 608-531-7635
    Janesville, WI 53545                    Email: Mary.Webster@panoramicinc.com




9   Darigold Inc                            Darigold Inc                           Trade Payable                                                                   $348,264.37
    P.O. Box 95500                          Tel: 206-286-6753
    Chicago, IL 60694-5500                  Email: Dinh.Ho@darigold.com




10 Elite Staffing, Inc                      Elite Staffing, Inc                    Trade Payable                                                                   $246,783.99
   P.O. Box 5450                            Tel: 773-523-0431
   Carol Stream, IL 60197-5450              Email: cheredia@elitestaffinginc.com




11 Armstrong Transport Group                Armstrong Transport Group              Trade Payable                                                                   $236,027.84
   P.O. Box 735227                          Tel: 980-819-4018
   Dallas, TX 75373-5227                    Email: jbrown@armstrongtransport.com




12 Bianchi Milling                          Bianchi Milling                        Trade Payable                                                                   $190,782.50
   2820 Glavin Dr                           Tel: 847-478-8322
   Elgin, IL 60124                          Email: mike@bianchimilling.com




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               Page 2
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Debtor name Gold Standard Baking, LLC                                                                    Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                               claim is
mailing address, including zip              email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction for Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


13 Batory Foods                             Batory Foods                          Trade Payable                                                                   $182,651.72
   10255 W Higgins Rd, Ste 500              Tel: 847-716-5014
   Des Plaines, IL 60018                    Email: mgiovanni@batoryfoods.com




14 Specialty Nut & Bakery Supply Inc        Specialty Nut & Bakery Supply Inc     Trade Payable                                                                   $164,595.95
   1417 Jeffrey Dr                          Tel: 630-268-8500
   Addison, IL 60101                        Email: orders@pspecialty.com




15 Midland Packaging & Display              Midland Packaging & Display           Trade Payable                                                                   $154,121.06
   P.O. Box 266                             Tel: 262-886-8851
   Franksville, WI 53126                    Email: cborland@gbp.com




16 AB Mauri Foods Inc                       AB Mauri Foods Inc                    Trade Payable                                                                   $144,220.00
   4776 Collections Center Dr               Tel: 314-392-0824
   Chicago, IL 60693                        Email: Nicole.McBride@abmauri.com




17 Ardent Mills, LLC                        Ardent Mills, LLC                     Trade Payable                                                                   $133,870.20
   33250 Collections Center Dr              Tel: 720-388-8023
   Chicago, IL 60693-0332                   Email: Jon.Welch@ardentmills.com




18 Handi-foil of America                    Handi-foil of America                 Trade Payable                                                                   $129,639.75
   24628 Network Pl                         Tel: 847-353-1108
   Chicago, IL 60673                        Email: gguo@handi-foil.com




19 Indiana Sugars, Inc                      Indiana Sugars, Inc                   Trade Payable                                                                   $127,820.66
   5918 Collections Center Dr               Tel: 630-739-9151
   Chicago, IL 60693                        Email: lisam@buysugars.com




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                              Page 3
                                     Case 22-10559-JKS                   Doc 1   Filed 06/22/22              Page 11 of 26


Debtor name Gold Standard Baking, LLC                                                                   Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                    Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                             claim is
mailing address, including zip               email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                            (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                 trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                 loans,                               deduction for value of collateral or setoff to
                                                                                 professional                         calculate unsecured claim.
                                                                                 services, and
                                                                                 government
                                                                                                                     Total Claim, if   Deduction for Unsecured claim
                                                                                 contracts)
                                                                                                                     partially         value of
                                                                                                                     secured           collateral or
                                                                                                                                       setoff


20 Cain Food Industries                      Cain Food Industries                Trade Payable                                                                   $123,851.00
   P.O. Box 35066                            Tel: 214-630-4511
   Dallas, TX 75235                          Email: a.ramirez@cainfood.com




21 More Pallets LLC                          More Pallets LLC                    Trade Payable                                                                   $100,080.00
   7724 S Claremont Ave                      Tel: 773-424-0403
   Chicago, IL 60629                         Email: morepalletsllc@gmail.com




22 Central National-Gottesman Inc            Central National-Gottesman Inc      Trade Payable                                                                    $85,754.16
   Lindenmeyer Munroe                        Tel: 630-250-7500
   P.O. Box 99922                            Email: mschley@lindenmeyr.com
   Chicago, IL 60696-7722



23 Pamco Label Co, Inc                       Pamco Label Co, Inc                 Trade Payable                                                                    $82,653.10
   P.O. Box 1000                             Tel: 224-315-4829
   Dept 5                                    Email:
   Memphis, TN 38148                         Rob.Campagnolo@resourcelabel.com




24 Puratos Corp                              Puratos Corp                        Trade Payable                                                                    $64,232.80
   Lockbox 9572                              Tel: 708-966-2912
   P.O. Box 8500                             Email: dhooks@puratos.com
   Philadelphia, PA 19178-9572




25 Sweet Ovations, LLC                       Sweet Ovations, LLC                 Trade Payable                                                                    $62,587.25
   75 Remittance Dr, Ste 6026                Email: Holly.Riddick@Zentis.com
   Chicago, IL 60675-6026




26 Charter Next Generation, Inc              Charter Next Generation, Inc        Trade Payable                                                                    $52,729.60
   P.O. Box 9183427                          Tel: 715-395-1734
   Chicago, IL 60691-3427                    Email: Kolleen.Oswskey@cnginc.com




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            Page 4
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Debtor name Gold Standard Baking, LLC                                                                    Case No. (If known)

                                                                     (Continuation Sheet)

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                               claim is
mailing address, including zip              email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction for Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


27 Stratas Foods LLC                        Stratas Foods LLC                     Trade Payable                                                                    $48,715.39
   P.O. Box 11407                           Tel: 901-387-4708
   Birmingham, AL 35246-2477                Email: mike.hughes@stratasfoods.com




28 CALco Pallets                            CALco Pallets                         Trade Payable                                                                    $45,110.00
   P.O. Box 1922                            Tel: 815-725-5387
   Woodstock, IL 60098                      Email: Sarah@usacalco.com




29 Stephan Zouras                           Stephan Zouras                        Litigation          Contingent,                                         Undetermined
   Attn: Ryan Stephan, Haley Jenkins        Email: rstephan@stephanzouras.com;                        Unliquidated
                                                                                                      & Disputed
   100 N Riverside Plz, Ste 2150            hjenkins@stephanzouraz.com
   Chicago, IL 60606



30 The Civil Rights Group, LLC              The Civil Rights Group, LLC           Litigation          Contingent,                                         Undetermined
   Attn: Thomas R Kayes                     Tel: 708-722-2241                                         Unliquidated
                                                                                                      & Disputed
   2045 W Grand Ave, Ste B                  Email: tom@civilrightsgroup.com
   PMB 62448
   Chicago, IL 60612




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                              Page 5
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    )
    In re:                                          )    Chapter 11
                                                    )
    GOLD STANDARD BAKING, LLC,                      )    Case No. 21-___________(___)
                                                    )
                           Debtor.                  )
                                                    )

                           CERTIFICATION OF CREDITOR MATRIX

         Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above-captioned debtor and its
affiliated debtors in possession (collectively, the “Debtors”)2 hereby certify that the Creditor
Matrix submitted contemporaneously herewith contains the names and addresses of the Debtors’
creditors. To the best of the Debtors’ knowledge, the Creditor Matrix is complete, correct, and
consistent with Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.




2
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
       tax identification number, include: Gold Standard Baking, LLC (8756); Gold Standard
       Holdings, Inc. (0787); and Gold Standard Real Estate, LLC (6528). The location of the
       Debtors’ service address is 3700 S Kedzie Avenue, Chicago, Illinois 60632.
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    Fill in this information to identify the case and this filing:

   Debtor Name          Gold Standard Baking, LLC

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       06/22/2022                                
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 John T. Young, Jr.
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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          OMNIBUS UNANIMOUS WRITTEN CONSENT (I) OF THE SPECIAL
                      RESTRUCTURING COMMITTEE OF
                      GOLD STANDARD HOLDINGS, INC.,
                         GOLD STANDARD BAKING, LLC
                                    AND
                    GOLD STANDARD REAL ESTATE, LLC
                                    AND
                    (II) OF THE SOLE EQUITY HOLDER OF
                         GOLD STANDARD BAKING, LLC

                                            June 22, 2022

        The undersigned, being (i) all of the members of the special restructuring committee (the
“Special Restructuring Committee”) of each of Gold Standard Holdings, Inc., a Delaware
corporation (“Holdings”), Gold Standard Baking, LLC, an Illinois limited liability company
(“GSB”), and Gold Standard Real Estate, LLC, a Delaware limited lability company (each,
individually, a “Company” and collectively, the “Companies”), and (ii) Holdings, as the sole
equity holder of GSB, in lieu of holding a special meeting of the Special Restructuring Committee
and the sole equity holder of GSB, as applicable, hereby take the following actions and adopt the
following resolutions by unanimous written consent pursuant to the bylaws, limited liability
company operating agreement or similar governing document of each Company (collectively, the
“Governing Documents”), and the applicable laws of the state of incorporation or organization of
each Company, effective as of the date set forth above:

        WHEREAS, the Special Restructuring Committee was created at a duly convened meeting
of the board of managers and directors of the Companies held on June 13, 2022;

                                         Chapter 11 Filing

        WHEREAS, the Special Restructuring Committee has considered presentations by the
management and the investment banking advisors and legal advisors of the Companies regarding
the financial situation of the Companies, the strategic alternatives available to them, and the effect
of the foregoing on the Companies’ businesses; and

        WHEREAS, the Special Restructuring Committee has had the opportunity to consult with
the management and the investment banking advisors and legal advisors of the Companies and to
fully consider each of the strategic alternatives available to the Companies.

        NOW, THEREFORE, BE IT:

         RESOLVED, that in the judgment of the Special Restructuring Committee, it is desirable
and in the best interests of the Companies, their creditors, and other parties in interest, that each of
the Companies shall be, and hereby is, authorized to file or cause to be filed a voluntary petition
for relief (such voluntary petitions to be filed by the Companies are collectively referred to herein
as the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”); and it is



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        FURTHER RESOLVED, that the appropriate officers of the Companies, as applicable
(collectively, the “Authorized Officers”), acting alone or with one or more other Authorized
Officers be, and each of them hereby is, authorized, empowered, and directed to execute and file
on behalf of the Companies all petitions, schedules, lists, and other motions, objections, replies,
applications, papers, or documents, and to take any and all action that they deem necessary or
proper to obtain such relief, including, without limitation, any action necessary or proper to
maintain the ordinary course operation of the Companies’ businesses or to assist the Companies
in the Chapter 11 Cases and in carrying out their respective duties under the provisions of the
Bankruptcy Code; without limiting the foregoing, John T. Young, Jr., as the Chief Restructuring
Officer of each Company, is designated as an Authorized Officer; and it is

         Debtor-In-Possession Financing, Cash Collateral, and Adequate Protection

        RESOLVED, that each of the Companies will obtain benefits from: (i) the use of
collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy
Code (the “Cash Collateral”), which is security for certain prepetition secured lenders party to that
certain Credit Agreement dated as of April 24, 2015, among Gold Standard Acquisition, Inc., Gold
Standard Baking, Inc., Gold Standard Holdings, Inc., and 37 Baking Holdings, LLC, a Delaware
limited liability company (the “Pre-Petition Secured Lender”), and (ii) certain debtor-in-
possession financing (the “DIP Financing”) provided by Pre-Petition Secured Lender (the “DIP
Lender”); and it is

        FURTHER RESOLVED, that to use and obtain the benefits of the Cash Collateral, and
in accordance with section 363 of the Bankruptcy Code, the Companies will provide certain
adequate protection to the Pre-Petition Secured Lender (the “Adequate Protection Obligations”),
as documented in a proposed interim order (the “Interim DIP Order”) and submitted for approval
to the Bankruptcy Court; and it is

        FURTHER RESOLVED, that in the business judgment of the Special Restructuring
Committee, it is desirable and in the best interests of the Companies, their respective stakeholders,
creditors, and other parties in interest, for the Companies to enter into a certain new debtor-in-
possession agreement, in substantially the form set forth as Exhibit A attached hereto (the “DIPt
Agreement”), with the DIP Lender; and it is

        FURTHER RESOLVED, that the form, terms, and provisions of the DIP Agreement
(including the borrowing of money, granting of liens on substantially all assets of the Companies,
and the guaranty of obligations reflected therein), and the form, terms, and provisions of such other
agreements, certificates, schedules, and instruments contemplated thereby (including the DIP
Agreement, collectively, the “DIP Agreement Documents”) be, and hereby are, authorized,
adopted, and approved, and each of the Authorized Officers of the Companies be, and hereby is,
authorized and empowered, in the name of and on behalf of the Companies, to take such actions
and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause
the performance of the DIP Agreement Documents, and incur and pay or cause to be paid all fees
and expenses and engage such persons, in each case, in the form or substantially in the form thereof
submitted to the Special Restructuring Committee, with such changes, additions, and
modifications thereto as the Authorized Officers executing the same shall approve, such approval
to be conclusively evidenced by such officers’ execution and delivery thereof; and it is

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        FURTHER RESOLVED, that the form, terms, and provisions of the Interim DIP Order
to which the Companies are or will be subject, and the actions and transactions contemplated
thereby be, and hereby are, authorized, adopted, and approved, and each of the Authorized Officers
of the Companies be, and hereby are, authorized and empowered, in the name of and on behalf of
the Companies, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause the performance of, the Interim DIP Order, and such other
agreements, certificates, instruments, receipts, petitions, motions, objections, replies, or other
papers or documents to which any of the Companies is or will be a party, including, but not limited
to, any term sheet, credit agreement, security and pledge agreement, or guaranty agreement
(collectively with the Interim DIP Order and the DIP Agreement Documents, the “DIP
Documents”), and incur and pay or cause to be paid all fees and expenses and engage such persons,
in each case, in the form or substantially in the form thereof submitted to the Special Restructuring
Committee, with such changes, additions, and modifications thereto as the Authorized Officers
executing the same shall approve, such approval to be conclusively evidenced by such officers’
execution and delivery thereof; and it is

       FURTHER RESOLVED, that each of Company, as debtor and debtor-in-possession
under the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection
Obligations and certain secured claims pursuant to the DIP Agreement Documents and to
undertake any and all related transactions on substantially the same terms as contemplated under
the DIP Agreement Documents (collectively, the “Adequate Protection Transactions”); and it is

        FURTHER RESOLVED, that the Authorized Officers of the Companies be, and they
hereby are, authorized and directed, and each of them acting alone hereby is, authorized, directed,
and empowered in the name of, and on behalf of, the Companies, as debtor and debtor-in-
possession, to take such actions as in their discretion is determined to be necessary, desirable, or
appropriate and execute the Adequate Protection Transactions, including delivery of: (a) the DIP
Documents and such agreements, certificates, instruments, guaranties, notices, and any and all
other documents, including, without limitation, any amendments to any DIP Documents
(collectively, the “Adequate Protection Documents”); (b) such other instruments, certificates,
notices, assignments, and documents as may be reasonably requested by the Agent or the DIP
Lender; and (c) such forms of deposit account control agreements, officer’s certificates, and
compliance certificates as may be required by the DIP Documents or any other Adequate
Protection Document; and it is

         FURTHER RESOLVED, that each of the Authorized Officers of the Companies be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, the Companies
to file or to authorize the DIP Lender to file any Uniform Commercial Code (the “UCC”) financing
statements, any other equivalent filings, any intellectual property filings and recordation and any
necessary assignments for security or other documents in the name of the Companies that the DIP
Lender deems necessary or appropriate to perfect any lien or security interest granted under the
Interim DIP Order, including any such UCC financing statement containing a generic description
of collateral, such as “all assets,” “all property now or hereafter acquired” and other similar
descriptions of like import, and to execute and deliver, and to record or authorize the recording of,
such mortgages and deeds of trust in respect of real property of the Companies and such other
filings in respect of intellectual and other property of the Companies, in each case as the DIP


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Lender may reasonably request to perfect the security interests of the DIP Lender under the DIP
Documents; and it is

        FURTHER RESOLVED, that each of the Authorized Officers of the Companies be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, the Companies
to take all such further actions, including, without limitation, to pay or approve the payment of all
fees and expenses payable in connection with the Adequate Protection Transactions and all fees
and expenses incurred by or on behalf of the Companies in connection with the foregoing
resolutions, in accordance with the terms of the Adequate Protection Documents, which shall in
their sole judgment be necessary, proper, or advisable to perform any of the Companies’
obligations under or in connection with the Interim DIP Order or any of the other Adequate
Protection Documents and the transactions contemplated therein and to fully carry out the intent
of the foregoing resolutions; and it is

                                    Retention Of Professionals

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed to employ the law firm of Klehr Harrison Harvey Branzburg LLP, under a classic retainer
as general bankruptcy counsel, to represent and assist the Companies in carrying out their duties
under the Bankruptcy Code, and to take any and all actions to advance each of the Companies’
rights and obligations, including filing any motions, objections, replies, applications, or pleadings;
and in connection therewith, each of the Authorized Officers, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of Klehr Harrison
Harvey Branzburg LLP; and it is

         FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the firm of Houlihan Lokey Capital, Inc., as investment banker,
to represent and assist the Companies in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance the Companies’ rights and obligations; and in connection
therewith, each of the Authorized Officers is, with power of delegation, hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of Houlihan Lokey Capital, Inc.;
and it is

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the firm of Omni Agent Solutions as notice, claims, and
balloting agent to represent and assist the Companies in carrying out their duties under the
Bankruptcy Code, and to take any and all actions to advance the Companies’ rights and obligations;
and in connection therewith, each of the Authorized Officers, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of Omni Agent
Solutions; and it is

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the firm of Riveron Consulting, LLC, as financial and
restructuring advisor, to represent and assist the Companies in carrying out their duties under the

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Bankruptcy Code, and to take any and all actions to advance each of the Companies’ rights and
obligations; and in connection therewith, each of the Authorized Officers is, with power of
delegation, hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Riveron Consulting, LLC; and it is

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ any other professionals to assist the Companies in carrying out
their duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary; and it is

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is, with
power of delegation, authorized, empowered, and directed to execute and file all petitions,
schedules, motions, objections, replies, applications, pleadings, lists, and other papers and, in
connection therewith, to employ and retain all assistance by legal counsel, accountants, investment
bankers, financial advisors, restructuring advisors, and other professionals and to take and perform
any and all further acts and deeds that each of the Authorized Officers deem necessary, proper, or
desirable in connection with the Chapter 11 Cases, with a view to the successful prosecution of
the cases; and it is

                                           Sale of Assets

        FURTHER RESOLVED, the Special Restructuring Committee and Holdings, the as the
sole equity holder of GSB, have determined that it is advisable and in the best interest of GSB, as
seller (the “Seller”), to enter into an Asset Purchase Agreement with the Pre-Petition Secured
Lender or its assignee (the “Purchaser”), in substantially the form attached hereto as Exhibit B
(the “Purchase Agreement”); and it is

        FURTHER RESOLVED, that the form and terms of the Purchase Agreement are hereby
approved, adopted and ratified in all respects; that subject to the Bid Procedures referenced below,
the Seller is hereby authorized to execute, deliver and perform such Purchase Agreement and to
consummate the transactions contemplated thereby; and that each of the Authorized Officers is
hereby authorized and directed to execute and deliver, in the name and on behalf of the Seller, the
Purchase Agreement, in substantially the form hereby approved, with such changes as any
Authorized Officer shall approve on behalf of the Seller, such approval to be conclusively
established by the execution and delivery thereof; and it is

       FURTHER RESOLVED, that the form and terms of (i) the Bid Procedures, (ii) the Bid
Procedures Order, (iii) the Bill of Sale, (iv) the Sale Order, and (v) the Assignment and Assumption
Agreement (collectively, the “Purchase Agreement Ancillary Documents”) with respect to the
Purchase Agreement, substantially in the forms presented to the Special Restructuring Committee
and Holdings, are hereby approved, adopted and ratified in all respects; that the Seller is hereby
authorized to execute, deliver and perform such Purchase Ancillary Documents and to
consummate the transactions contemplated thereby; and that each Authorized Officer is hereby
authorized and directed to execute and deliver, in the name and on behalf of the Seller, such

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Purchase Agreement Ancillary Documents in substantially the forms hereby approved, with such
changes as any Authorized Officer shall approve on behalf of the Seller, such approval to be
conclusively established by the execution and delivery thereof; and it is

        FURTHER RESOLVED, that the form and terms of any and all other documents to be
delivered by the Companies to the Purchaser in connection with the consummation of the
transactions contemplated by the Purchase Agreement, including all exhibits and schedules thereto
(the “Supplemental Documents”) in the forms approved by any Authorized Officer after the date
hereby, are hereby approved, adopted and ratified in all respects; that the Companies are hereby
authorized to execute, deliver and perform such Supplemental Documents and to consummate the
transactions contemplated thereby; and that each Authorized Officer is hereby authorized and
directed to execute and deliver, in the name and on behalf of the Companies, such Supplemental
Documents in substantially the forms hereby approved, with such changes as any Authorized
Officer shall approve on behalf of the Companies, such approval to be conclusively established by
the execution and delivery thereof; and it is

                                             General

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
hereby is, authorized and empowered, in the name of and on behalf of the Companies, to take or
cause to be taken any and all such other and further action, and to execute, acknowledge, deliver,
and file any and all such agreements, certificates, instruments, and other documents and to pay all
expenses, including but not limited to filing fees, in the case as in such officer’s or officers’
judgment, shall be necessary, advisable, or desirable in order to fully carry out the intent and
accomplish the purposes of the resolutions adopted herein; and it is

        FURTHER RESOLVED, that the Special Restructuring Committee and Holdings have
received sufficient notice of the actions and transactions relating to the matters contemplated by
the foregoing resolutions, as may be required by the organizational documents of the Companies,
or hereby waives any right to have received such notice; and it is

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Companies,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Companies with the same force and effect as if each such act,
transaction, agreement, or certificate has been specifically authorized in advance by resolution of
the Special Restructuring Committee and Holdings; and it is

         FURTHER RESOLVED, that facsimile, PDF or photostatic copies of signatures to this
consent shall be deemed to be originals and may be relied on to the same extent as the originals;
and it is

        FURTHER RESOLVED, the actions taken by this Omnibus Joint Unanimous Consent
of the Special Restricting Committee and Holdings shall have the same force and effect as if taken
at special meetings of the Special Restructuring Committee and Holdings duly called and


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constituted pursuant to the Governing Documents of the Companies and the laws of the State of
Delaware or the State of Illinois, as applicable.

                                 [SIGNATURES FOLLOW]




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        IN WITNESS WHEREOF, the undersigned has executed this Omnibus Joint Unanimous
Consent of the Special Restricting Committee and Holdings effective as of the day and year first
written above.

                                            Special Restructuring Committee:



                                            Patrick Bartels



                                            Lisa Gavales

                                            [Being all of the members of the Special
                                            Restructuring Committee of:
                                            Gold Standard Holdings, Inc.
                                            Gold Standard Baking, LLC
                                            Gold Standard Real Estate, LLC]


                                            Holdings:
                                            GOLD STANDARD HOLDINGS, INC.


                                            By:
                                                     Name: John T. Young, Jr.
                                                     Title: Chief Restructuring Officer
                                            [Being the sole equity holder of Gold Standard
                                            Baking, LLC]




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        IN WITNESS WHEREOF, the undersigned has executed this Omnibus Joint Unanimous
Consent of the Special Restricting Committee and Holdings effective as of the day and year first
written above.

                                            Special Restructuring Committee:



                                            Patrick Bartels



                                            Lisa Gavales

                                            [Being all of the members of the Special
                                            Restructuring Committee of:
                                            Gold Standard Holdings, Inc.
                                            Gold Standard Baking, LLC
                                            Gold Standard Real Estate, LLC]


                                            Holdings:
                                            GOLD STANDARD HOLDINGS, INC.


                                            By:
                                                     Name: John T. Young, Jr.
                                                     Title: Chief Restructuring Officer
                                            [Being the sole equity holder of Gold Standard
                                            Baking, LLC]




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        IN WITNESS WHEREOF, the undersigned has executed this Omnibus Joint Unanimous
Consent of the Special Restricting Committee and Holdings effective as of the day and year first
written above.

                                            Special Restructuring Committee:



                                            Patrick Bartels



                                            Lisa Gavales

                                            [Being all of the members of the Special
                                            Restructuring Committee of:
                                            Gold Standard Holdings, Inc.
                                            Gold Standard Baking, LLC
                                            Gold Standard Real Estate, LLC]


                                            Holdings:
                                            GOLD STANDARD HOLDINGS, INC.


                                            By:
                                                     Name: John T. Young, Jr.
                                                     Title: Chief Restructuring Officer
                                            [Being the sole equity holder of Gold Standard
                                            Baking, LLC]




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                                       Exhibit A

                                Form of DIP Agreement

See attached.




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                                       Exhibit B

                           Form of Asset Purchase Agreement

See attached.




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